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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                CASE NO. 23-80-1010-CR-CANNON

      UNITED STATES OF AMERICA,

                           v.

      DONALD J. TRUMP,
      WALTINE NAUTA, and
      CARLOS DE OLIVEIRA,
                                                       /
                           Defendants.

                 CONSENT MOTION TO ALLOW ELECTRONIC DEVICES

         Defendants Donald J. Trump and Waltine Nauta, by and through the undersigned counsel,

  and pursuant to the Administrative Order 2018-79 in re Cellular Phone and Electronic Equipment

  Usage in the Courthouse, issued by the Chief Judge of the United States District Court for the

  Southern District of Florida on October 17, 2018 (the “Administrative Order”), respectfully moves

  this Court for a written request to the U.S. Marshal’s Service (with a copy to counsel of record) to

  permit Brand Woodward Law, LP’s law clerk and Blanche Law PLLC’s legal analyst 1 to bring

  electronic equipment into the U.S. Courthouses in this Southern District of Florida (the

  “courthouses”) located at the addresses listed below:

         1. Wilkie D. Ferguson, Jr. U.S. Courthouse
            400 North Miami Avenue
            Miami, FL 33128;
         2. C. Clyde Atkins U.S Courthouse
            301 North Miami Avenue
            Miami, FL 33128;




  1
    Defense counsel will provide the names of Brand Woodward’s law clerk and Blanche Law’s
  legal analyst to the Court directly.


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         3. Paul G. Rogers Federal Building and U.S. Courthouse
            701 Clematis Street, Room 202
            West Palm Beach, FL 33401; and
         4. Alto Lee Adams, Sr. U.S. Courthouse
            101 South U.S. Highway 1, Room #1016
            Ft. Pierce, FL 34950.

         Under the Administrative Order,

                 [a]ll electronic devices including but not limited to Cellular Phones
                 … [and] … Laptop Computers … are prohibited from being brought
                 into any federal courthouse facility within the Southern District of
                 Florida with the following exceptions…. A written request signed
                 by a judge or other designated authority, forwarded to the United
                 States Marshal for verification, allowing a specific person access to
                 the courthouse with a specific electronic device for a specific
                 purpose and period of time….

  Both Brand Woodward’s law clerk and Blanche Law’s legal analyst assist defense counsel in the

  present proceedings. The purpose of allowing Brand Woodward’s law clerk and Blanche Law’s

  legal analyst in bringing electronic devices is to enable and facilitate communications between

  defense counsel of record through cellular telephone and email communications via firm laptop

  whilst present within these courthouses.

         Should the Court grant the instant motion, defense counsel requests that the effective date

  of this request be the date upon which this Motion is granted until this matter is concluded.

                                [SIGNATURE BLOCK NEXT PAGE]




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   Dated: January 3, 2024             Respectfully submitted,

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                                       s/ Sasha Dadan
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                                      Counsel for Defendant Waltine Nauta

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                                      305.677.2707

                                      Counsel for President Donald J. Trump




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                                      Certificate of Conferral
         Pursuant to Local Rule 88.9 of the Local Rules for the United States District Court of the

  Southern District of Florida, defense counsel has conferred with counsel for the Special

  Counsel’s Office whom advise that they consent to the relief sought in the instant motion.

                                             Respectfully submitted,

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                                             Counsel for Defendant Waltine Nauta
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on January 3, 2024, I electronically submitted the foregoing, via

  electronic mail, to counsel of record.

                                               Respectfully submitted,

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